            Case 1:21-cv-00197-JL Document 7 Filed 04/05/21 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

______________________________
                               )
TIMOTHY MURPHY                )
                               )
          V.                   )
                               )
SMITHFIELD PLUMBING &         )
HEATING SUPPLY CO., INC. and )
FAMILY TREE, LLC              )
                               )                 Civil Action No.: 1:21-CV-00197
                               )
                               )
                               )
                               )
______________________________

             CORPORATE DISCLOSURE STATEMENT OF DEFENDANT,
              SMITHFIELD PLUMBING & HEATING SUPPLY CO., INC.
                       PURSUANT TO LOCAL RULE 7.1.1


        Now Comes the Defendant, Smithfield Plumbing & Heating Supply Co., Inc. (“Smithfield”)
by and through its attorneys, Law Offices of John B. Schulte, and hereby submits the following
disclosure statement in the above entitled matter.


        Smithfield Plumbing & Heating Supply Co., Inc. (“Smithfield”), the filing party, hereby
discloses that there is no parent corporation or any publicly held corporation that owns a 10% or
more membership or stock interest in Smithfield.

                                              Respectfully Submitted,

                                              Smithfield Plumbing & Heating Supply Co., Inc.

                                              By their Attorneys,
                                              LAW OFFICES OF JOHN B. SCHULTE

Date: April 5, 2021                                   /s/ Nicholas J. Deleault
                                              Nicholas J. Deleault, Esquire / NH Bar No. 18304
                                              Two Bedford Farms Drive, Suite 202
                                              Bedford, NH 03110
                                              603-623-8413
                                              (603) 623-8517 (Fax)
                                              Nicholas.Deleault@libertymutual.com
